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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiffs,                                      8:14CR409

       vs.
                                                                         ORDER
SHANE SEIZYS,

                       Defendant.


       This matter is before the court on the defendant’s Motion for Copies of “all transcripts,
motion documents, discovery, and any other said papers filed” relating to his case (Filing No.
297). Upon review of the file, the Court notes that the defendant’s criminal case is on appeal
with the Eighth Circuit Court of Appeals, and the defendant is currently represented by counsel
regarding this appeal. The defendant’s Motion for Copies will therefore be denied.
       IT IS ORDERED:
       1.      The defendant’s Motion for Copies [297] of “all transcripts, motion documents,
discovery, and any other said papers filed” relating to his case is denied.
       2.      The Clerk of Court shall mail a copy of this order to the defendant at his last
known address.


       Dated this 29th day of July, 2016.

                                                      BY THE COURT:
                                                      s/ F.A. Gossett, III
                                                      United States Magistrate Judge
